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                   IN THE UNITED STATES COURT OF APPEALS
                         FOR THE ELEVENTH CIRCUIT

                            Case NO.
                                                                      SEP 13 2016
                                                                    STEVEN M. LARIMORE
  CARLOS RODRIGUEZ,                                                 CLERK U. S. DIST. CT.
                               16cv23908-JEM                         S. D. of FLA. -MIAMI
             Petitioner,

  v.
  BON. JOSE E. MARTINEZ, United
  States District Court Judge,
  Southern District of Florida,

            Respondent.


                       PETITION FOR WRIT OF MANDAMUS


                    Certificate of Interested Persons
                    and Corporate Disclosure Statement

          Petitioner Carlos Rodriguez, pro se, and pursuant to 11th

  Circuit Rule 26.1-1, hereby submits the following list of all

  trial judges(s), all attorneys, persons, associations of persons,

  firms, partnerships, or corporations that have any interest in the

  outcome of this appeal, including subsidiaries, conglomerates,

  affiliates and parent corporations, including any publicly held

  corporation that owns 10% or more of the partys stock, and other

  identifiable legal entities related to a party:

  Acosta, R. Alexander

  Anderson, Rhonda                                      eat I dlv
                                                        Case#---------
  Antoine, Robert                                       Judge _ _.....,..-_Mag _ _ _~
                                                        Motn lfp No         Fee pd $ /VZ)
  AXA Equitable Life Insurance Company (AXA)            Receipt#---------
  Bandstra, Hon. Ted E.

  Beeler, Joseph Wentworth

  Bergendahl, John E.

  Brown, Hon. Stephen T.



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         Calli, Paul A.

         Cinergy Telecommunications, Inc. (CIN)

         Cooke, Hon. Marcia G.

         Cruz, Washington Vasconez

         Dansoh, Richard

         Diaz, Richard

         Donlan, Maureen

         Dube, Hon. Robert

         Duperval, Jean

         Esquenazi, Joel

         Fagan, Aurora

         Ferrer, Wilfredo A.

         Fisher, Ivan s.

         Garber, Hon. Barry L.

         Gerrity, Kevin B.

         Goodman, Hon. Jonathan

         Grandison, Marguerite

         Greenberg, Jake

         Grove, Daren

         Hernandez, Arturo v.

         Hirshorn, Joel

         Joffe, David J.

         Jorgensen, Lauren E.

         Joseph, Patrick

         Kahn, Daniel    s.
         Kainen, Dennis

         Koukios, James M.

         Lewis, Guy A.

                                             C-2
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     Martinez, Hon. Jose E .
•
     McAliley, Hon. Chris M.

     Moore, Karen E.

     Montiero, Courtney

     Mrazek, Nicola

     Meyers, Kathryn

     O'Sullivan, HO. John J.

     Palermo, Hon. Peter R.     (deceased)

     Reid, Lisette M.

     Richers, Amadeus

     Rodriguez, Carlos

     Rosado, Vivian

     Rosen, Michael

     Simonton, Hon. Andrea M.

     Sloman, Jeffrey H.

     Smachetti, Emily M.

     Smith, II., Jan c.

     Tein, Michael R.

     Telecommunications D'Haiti, SA

     Turnoff, Hon. William c.

     Valiente, Lauren

     Villafana, Anne Marie

     Vereen, Roderick D.

     Zurita, Cecilia




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                           PETITION FOR WRIT OF MANDAMUS

                Comes now, Carlos Rodriguez ("Petitioner"), prose, and

      pursuant to 28   u.s.c. § 1361, moves this Court to issue an order
      directing respondent judge to hear and decide petitioner's (1)

      28   u.s.c. § 2255 motion, and (2) motion for release pending the
      court's determination of movant's 28       u.s.c. § 2255 motion, which
      were filed (15) months and (10) months ago, respectively, in the

      United States District Court, for the Southern District of Florida.

      In support of his petition, Petitioner shows the Court the following;

                                 FACTUAL BACKGROUND

              On June 2, 2015, Petitioner filed a timely 28        u.s.c. § 2255
      motion to vacate, set aside, or correct sentence, along with a

      Memorandum of Facts and Law, in support of his motion.(Case No.

      1:15-cv-22093-JEM, U.S.D.C./ S.D. FLA.) This motion is still pend-

      ing determination by the district court.

              On November 4, 2015, Petitioner filed a Motion for Release

     Pending the Court's Resolution of Movant's 28         u.s.c. § 2255.
              On January 29, 2016, the Magistrate Jtidge issued an Order

     denying Movant's Motion for Release, citing that Movant had noy

     demonstrated either (1) substantial constitutional violations, or

      (2) extraordinary circumstances.

              On February 2, 2016, Petitioner filed a timely Notice of

     Appeal to the Magistrate Judge's determination. Petitioner also

     filed a Motion to Leave in forma pauperis, and a Motion to Appoint

     Counsel.

              On March 31, 2016, Petitioner filed a Motion in Opposition

     to the Magistrate Judge's Order. He subsequently filed a Motion

     to Eleventh Circuit Court of Appeals to withdraw his appeal.


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          On May 25, 2016, the Eleventh Circuit Court of Appeals

  issued an Order of Dismissal of Movant's appeal. Then on May 26,

  2016, the Eleventh Circuit Court of Appeals issued paperless orders

  denying (1) Movant's Motion for Leave to Appeal in forma pauperis,

  and (2) Movant's Motion to Appoint Counsel.

          On July 8, 2016, Petitioner filed a Motion to Expedite

  Ruling on his Motion for Release Pending the Court's Resolution

  of Movant's 28 U.S.C. § 2255. Petitioner's Motion for Release is

  still pending determination by the district court.

                                  DISCUSSION

          Mandamus is available "only in drastic situations, when no

  other adequate means are avilable to remedy a clear usurpation of

  power or abuse of discretion." (Jackson v. Motel 6 Multipurpose,

  Inc., 130 F.3d 999, 1004 (11th Cir. 1997)(quotation omitted). The

  petiioner has the burden of showing that he has no other avenue

  of relief, and that his right to relief is clear and indisputable.

  (Mallard v. united States Dist. Court, 490        u.s. 296, 309, 109 S.
  ct. 1814, 1822, 104 L. Ed. 2d 318 (1989). An Appellate court may

  issue a writ of mandamus on the ground that undue delay is tanta-

  mount to a failure to exercise jurisdiction, and without actually

  issuing the writ, may order a district court not to defer adjudi-

  cating a case. (Madden v. Myers, 102 F.3d 74, 79 (3d Cir. 1996);

  Johnson v. Rogers, 917 F.2d 1283, 1284 (10th Cir. 1990)(a 14-month

  delay in ruling on a § 2241 petition for no other reason than

  docket congestion was impermissible)

          The peremptory writ of mandamus has traditionally been used

  in federal courts to "confine an inferior court to a lawful

  exercise of its prescribed jurisdiction or to compel it to exer-



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'     cise its authority to do so." ((Will v. United states, 389 u.s. 90,

      95, 19 L. Ed. 2d 305, 88 S. Ct. 269 (1967), quoting Roche v.

      Evaporated Milk Ass'n, 319 U.S. 21, 26, 87 L. Ed. 1185, 63 S. Ct.

      938 (1943). Repeated decisions of the Supreme Court have established

      the rules that mandamus ''will lie in a proper case to direct a

      subordinate Federal Court to decide a pending cause." (Insurance

      Company v. Comstock, 83 u.s. 258, 270, ,21 L. Ed. 493 (1872);

      Thermtron Prods., Inc. v. Hermansdorfer, 423 u.s. 336, 352, 46 L.

      Ed. 2d 542, 96 S. Ct. 584 (1976): Will v. Calvert Fire Ins. Co.,

      437 U.S. 655, 662, 57 L. Ed. 2d 504, 98 S. Ct. 2552 (1978); State

      Farm Mut. Auto Ins. Co. v. Scholes, 601 F.2d 1151, 1154 (10th Cir.

      1979)).

                Under the circumstances of this case, petitioner has estab-

      lished a clear and indisputable right to have his petition expedi-

      tiously heard and decided, and he has no alternative remedy.

                Petitioner's 28   u.s.c. § 2255 motion has been pending deter-
      mination by the district court for (15) months, while the Motion

      for Release Pending the Court's Resolution of Movant's 28 U.S.C.

      § 2255 has been pending determination for (10) months.

                                      CONCLUSION

                Based on the foregoing, Petitioner moves this Court to

      grant his Petition for Writ of Mandamus, and respectfully requests

      that the Court issue an Order directing respondent judge to hear

      and decide petitioner's (1) 28      u.s.c. § 2255 motion, and/or (2)
      motion for release pending the court's determination of movant's

      28 U.S.C, § 2255 motion.




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·.
       Respectfully submitted on this 27th day of August, 2016.




       D. ~ a   mes C. F.
       P.O. Box 2000
       Folkston, GA. 31537




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                                CERTIFICATE OF FILING

               I certify that I filed the foregoing to the United States

       Court of Appeals, for the Eleventh Circuit, Clerk of Court, 56

       Forsyth Street, N.W., Atlanta, GA. 30303, by utilizing the          u.s.
       Postal Service, first class postage affixed on this 27th, day of

       August, 2016.
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                          CERTIFICATE OF SERVICE


          I certify that I served a copy of the Petition for Writ of

 Mandamus to the Honorable Jose E. Martinez, United States District

 Court, Southern District of Florida, 400 North Miami Ave., Miami,

 Fla. 33128, by utilizing the      u.s. Postal Service, first class
  postage affixed on this 7th day of September, 2016.
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